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               Exhibit F
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         Jumio’s Privacy Policy




                    Privacy Policy for Online Services
                    Jumio Corporation (“Jumio”) respects the privacy of our users. This Privacy Policy (“Policy”) describes
                    our privacy practices concerning information collected in connection with Jumio’s payment,
                    verification, and related online services, including but not limited to Authentication, BAM Checkout,
                    Document Verification, Fastfill, ID Verification and Identity Verification (the “Services”). A separate
                    policy, available here, describes our privacy practices in connection with our online website, located at
                    www.jumio.com. Jumio makes the Services available to third parties for integration into those third
                    parties’ websites, applications, and online services. Jumio collects, uses, and discloses individual
                    users’ information only as directed by these third parties and, accordingly, under applicable data
                    protection laws, Jumio is a processor or service provider (“data processor”) of user information with
                    respect to the Services and not a controller or business (“data controller”). Further, some features of
                    the Services may be disabled or altered by the data controller, or the data controller may require Jumio
                    to collect, use, disclose, or otherwise process data in ways that differ from those described below.
                    Thus, to fully understand how your information will be handled when you use the Services, you must
                    review not just this Policy, but also the privacy policy of the third party with whom you are dealing
                    directly (the “Customer Data Controller”). As an exception to the above, Jumio processes personal
                    information in the capacity of a data controller and a business to comply with its regulatory obligations.
                    For further information please review the section “Jumio acting as a data controller” below.

                    Notwithstanding the above, Jumio may process certain individual users’ information in anonymized
                    and/or aggregated form for its own purposes.

                    Jumio is headquartered in the United States at 395 Page Mill Road, Suite 150, Palo Alto, CA 94306.


                    What personal and other information Jumio
                    collects about you

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                    Jumio collects “personal information” about users of the Services. “Personal information” is
                    information such as a name, email address, or identification card image, which refers to an identified or
                    identifiable person. Jumio processes personal information on behalf of the Customer Data Controller.
                    For its own purposes, Jumio only processes the personal information described in section “Jumio
                    acting as a data controller” and anonymized and/or aggregated information. “Anonymized information”
                    is information which does not relate to an identified or identifiable person or is rendered anonymous in
                    such a manner that the person is no longer identifiable.

                    Personal information. Jumio collects a wide range of personal information through the Services. This
                    information varies depending on the Jumio application and the Customer Data Controller in question,
                    but may include such information as name, physical address, email address, telephone number, social
                    security number, driver’s license number, state or national ID card number, passport number, other ID
                    card number, credit or debit card number, CVV, expiration date, and/or date of birth. In some cases,
                    Jumio may collect a visually scanned or photographed image of your face and/or your identification
                    card, driver’s license, passport, utility bill, bank account statement, insurance card, or credit/debit
                    card. This image may include your photograph and other information from the imaged document, such
                    as your eye color, weight, height, and organ donor status.

                    Information for Illinois residents: Jumio’s collection of personal information may include biometric
                    identifiers and/or biometric information (collectively “biometric data”), and Jumio may share such
                    biometric data with the Customer Data Controller. Jumio may collect, process and store your biometric
                    data for the purpose of verification services and long-term proof of inspection of your provided form of
                    identification, on behalf of and as instructed by the Customer Data Controller. Jumio will store your
                    biometric data for as long as the Customer Data Controller requests (e.g., the duration of your use of its
                    services), which shall be no longer than the earlier of the date when (i) the Customer Data Controller
                    ceases to have a relationship with Jumio or (ii) within three (3) years after the Customer Data
                    Controller informs Jumio that its last interaction with you has occurred.

                    Facial recognition. If you agree to use our Netverify with Biometric Facial Recognition, or other facial
                    recognition service that we offer to our business customers, Jumio will collect an image of your face
                    that you provide through a mobile app (i.e. a selfie) and a photo or scan of your face as it appears on an
                    identification document. Jumio will use facial recognition technology only for the purpose of verifying
                    your identity as the person who appears on the identification document. Jumio may share the facial
                    scans with the Jumio customer through which you used Jumio’s identity verification service. Jumio
                    will retain your facial recognition information, including the photo of your face and photo or scan of
                    your identification document, for the amount of time requested by the Jumio customer through which
                    you used Jumio’s identity verification service. In no event will Jumio store your facial recognition
                    information after Jumio ceases to have a customer relationship with the customer through which you
                    used Jumio’s identity verification service.

                    Data provided by third parties. We may receive personal or anonymized and/or aggregated
                    information about you from the Customer Data Controller that integrates the Services into its website,
                    application, or other online service. This information includes a customer ID, selected by the Customer
                    Data Controller, that uniquely identifies you in the third party’s database. For additional information,
                    review the privacy policy of the Customer Data Controller.

                    At the direction of the Customer Data Controller, Jumio also might obtain information about you from
                    other third parties, such as consumer reporting agencies and fraud-prevention services.

                    Cookies and other tracking data. When you use the Services, we automatically receive and record
                    certain information from your computer (or other device) and/or your web browser. This may include
                    such information as the third-party website or application into which the Services are integrated, the
                    date and time that you use the Services, your IP address and domain name, your software and
                    hardware attributes (including operating system, device model, and hashed device fingerprint
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                    information), and your general geographic location (e.g., your city, state, or metropolitan region; or your
                    geolocation (GPS coordinates) if available). If you use the Authentication service, we may install little
                    pieces of software (called: service workers) on your device to increase the speed of the next and
                    following verifications. The service worker does not collect any data about you and does not track you.
                    We will process such data only as instructed by the Customer Data Controller, or as required for Jumio
                    to meet its obligations relating to its own regulatory compliance.

                    We also use cookies in connection with the Services. For further information please refer to the section
                    entitled “Cookies” below.


                    Cookies
                    What are cookies? Cookies are small files that are stored on your computer or other device by your
                    web browser. A cookie allows Jumio to recognize whether you have used the Services before and may
                    store user preferences and other information.

                    How are cookies used? For example, cookies can be used to collect information about your use of the
                    Services during your current session and over time, your computer or other device’s operating system
                    and browser type, your Internet service provider, your domain name and IP address, and your general
                    geographic location or geolocation. We process personal information generated by cookies only as
                    instructed by the Customer Data Controller.

                    What kind of cookies are used on the Website? Our website primarily uses the following types of
                    cookies:




                          Cookie Name                               Cookie Type                                  Purpose


                                                                                                                 This cookie is used to
                          __ga                                      Persistent cookie                            distinguish users and expires
                                                                                                                 after 2 years.


                                                                                                                 This cookie is used to throttle
                          __gat                                     Session cookie                               the request rate and expires
                                                                                                                 after 10 minutes.



                    “Session cookies” are temporary bits of information which are deleted when you exit your web browser.
                    Session cookies are typically used to improve navigation and to collect web statistics.

                    “Persistent cookies” are more permanent bits of information that are stored and remain on your
                    computer until they are deleted by you. This type of cookie stores information on your computer for a
                    number of purposes; such as saving your passwords. Persistent cookies delete themselves after a
                    certain period of time but are renewed each time you visit the website.



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                    How do you avoid cookies? If you are concerned about having cookies on your computer or device,
                    you can set your browser to refuse all cookies or to indicate when a cookie is being set, allowing you to
                    decide whether to accept it. You can also delete cookies from your computer. However, if you choose
                    to block or delete cookies, certain features of the Services may not operate correctly.


                    How Jumio uses the personal and
                    anonymized/aggregated information that we
                    collect
                    In general, Jumio uses the personal and anonymized and/or aggregated information that we collect in
                    connection with the Services as discussed in this section of the Policy.

                    Other than as described under the section “Jumio acting as a data controller” personal information is
                    used by Jumio only as directed by the Customer Data Controller that integrates the Services into its
                    website, application, or other online service. Subject to the privacy policy of the Customer Data
                    Controller, we use your personal information as follows on behalf of the Customer Data Controller.

                    Jumio may use your personal information to provide the Services. For example, we might use your
                    credit card information or ID card information to populate an online form, or to verify your identity in
                    connection with your use of another online service. We also may use your personal information to fulfill
                    the terms of any agreement between us and the Customer Data Controller; to complete a transaction
                    that you initiate; to deliver confirmations, account information, notifications, and similar operational
                    communications; and to comply with legal and/or regulatory requirements.

                    Anonymized and/or aggregated information that we collect in connection with the Services is used by
                    Jumio for its own purposes to perform analytics and research concerning the Services.

                    We process the provided personal information manually, by our specially trained verification agents or
                    automatically with the use of our software and machine learning capabilities. When we process the
                    personal information automatically, we apply especially the following criteria:

                              Checks on the integrity and quality of the photographs;
                              Checks on the integrity and recognition of the document;
                              Extracting and analysis of text, graphical layout, and any other available information on the
                              document, face photographs and face maps, background;
                              Analysis of results of all the steps combined, considering multiple variables, predictions and
                              confidence values for a final score;
                              Lookups against known images as well as known cases;
                              In case of identity verification, your selfie is compared to the photo on the document and is used
                              to ensure your liveness in the selfie.

                    Please reach out to the Customer Data Controller responsible for your personal information with any
                    inquiries regarding the rights you may have in case your personal information is subject to automated
                    decision-making.


                    How Jumio shares personal and
                    anonymized/aggregated information with other
                    entities
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                    In general, Jumio shares the personal and anonymized and/or aggregated information that we collect
                    in connection with the Services as discussed below.

                    Other than as described under the section “Jumio acting as a data controller” below, Jumio shares
                    personal information only as directed by the Customer Data Controller, and thus the following
                    language is subject to the privacy policy of the Customer Data Controller.

                    Customer Data Controller. We share the personal and pseudonymized information that we collect on
                    behalf of a particular Customer Data Controller with that Customer Data Controller.

                    Jumio service providers. Jumio also uses third-party service providers to help us deliver, manage,
                    and improve the Services. These service providers may collect and/or use your personal information or
                    anonymized and/or aggregated information to assist us in achieving the purposes discussed above in
                    the section entitled “How Jumio uses the personal and anonymized /aggregated information that we
                    collect.”

                    We also may share your personal information with other third parties when necessary to fulfill your
                    requests for services; to complete a transaction that you initiate; or to meet the terms of any
                    agreement that you have with us or our partners.

                    Analytics providers. We partner with certain other third parties to collect anonymized and/or
                    aggregated information and engage in analysis, auditing, research, and reporting.

                    Legal purposes. We also may use or share your personal information with third parties when we have
                    reason to believe that doing so is necessary:

                              to comply with applicable law or a court order, subpoena, or other legal process;
                              to investigate, prevent, or take action regarding illegal activities, suspected fraud, violations of
                              our terms and conditions, or situations involving threats to our property or the property or
                              physical safety of any person or third party;
                              to establish, protect, or exercise our legal rights or defend against legal claims; or
                              to facilitate the financing, securitization, insuring, sale, assignment, bankruptcy, or other disposal
                              of all or part of our business or assets.

                    Aggregated information. From time to time, Jumio may also share anonymized and/or aggregated
                    information about users of the Services, such as by publishing a report on trends in the usage of the
                    Services.

                    Information for California residents. Jumio processes your personal information on behalf of the
                    Customer Data Controller pursuant to a written agreement for verification services. As such, Jumio
                    acts as a service provider to the Customer Data Controller. Moreover, Jumio does not sell your personal
                    information as the terms “sell” and “personal information” are defined by the California Consumer
                    Privacy Act (the “CCPA”) and, in providing its services to the Customer Data Controller, Jumio will not
                    retain, use, or disclose your personal information to any other third parties that would constitute
                    “selling” as the term is defined by the CCPA. Any questions or requests regarding Jumio’s processing of
                    your personal information in respect of your rights under the CCPA should be directed to the Customer
                    Data Controller that is responsible for your personal information.


                    Security

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                    Jumio uses commercially reasonable physical, electronic, and procedural safeguards designed to
                    protect your personal information against loss or unauthorized access, use, modification, or deletion.
                    Among other things, Jumio encrypts sensitive information both in transit and at rest. Jumio regularly
                    conducts security audits, vulnerability scans, and penetration tests to ensure compliance with industry
                    security practices and standards. However, no security program is foolproof, and thus we cannot
                    guarantee the absolute security of your personal or other information. Moreover, we cannot guarantee
                    the safety of your information when in the possession of other parties, such as the Customer Data
                    Controller.


                    Reviewing and updating your information
                    With the exception of Jumio acting as a data controller (please see below), Jumio will grant you access
                    to your personal information only as directed by the Customer Data Controller that integrates the
                    Services into its website, application, or online service. Jumio also will retain your personal information
                    as directed by the Customer Data Controller and, accordingly, we may retain your personal information
                    for as short as a few minutes or longer as directed by the Customer Data Controller.

                    Thus, if you want to learn more about the personal information that Jumio has about you, or you would
                    like to submit a request to update or change that information, please contact the Customer Data
                    Controller. You also may reach us by email at privacy@jumio.com.


                    Jumio acting as a data controller
                    Processing of GPS coordinates and IP addresses

                    Jumio acts as a data controller when processing GPS coordinates and IP addresses collected when
                    rendering its services to Customers Data Controllers.

                    The data subjects whose personal information is processed are end-users using the Services.

                    Purpose and legal basis for processing

                    The purpose of processing is to provide legal notices to data subjects and allow them to grant their
                    informed consent relating to the use of biometric information by Jumio in connection with the
                    Services, as required under the laws applicable to Jumio concerning the respective user (e.g. the
                    Illinois Biometric Information Privacy Act or “BIPA”).

                    Jumio processes the personal information – GPS coordinates and IP addresses – on the basis of Article
                    6(1)(f) GDPR, specifically:

                    (i) the prevailing legitimate interest of Jumio to comply with its legal obligations in jurisdictions
                    outside of the European Union;

                    (ii) the prevailing legitimate interest of data subjects using Jumio’s services to be notified of
                    biometric information processing by Jumio and express their consent, under the laws applicable to
                    Jumio concerning the respective user.

                    Recipients of the personal information


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                        1. The personal information is entrusted to data processors acting on Jumio’s behalf, providing
                           hosting services, technical staff and relevant technical infrastructure. In such case the processors
                           shall process personal information on the basis of an agreement with Jumio and exclusively in
                           accordance with Jumio’s instructions.
                        2. The personal information may be received by competent state authorities operating on the basis
                           of generally applicable legal provisions.
                        3. Jumio’s authorized employees and contractors may have access to the personal information.
                    The period for which the personal information will be stored

                    GPS coordinates and IP addresses will only be stored for the period necessary to establish the location
                    of the data subject and deleted immediately afterwards.

                    Data subjects’ rights in regard to personal information – GPS coordinates and IP addresses

                    In accordance with applicable law, you may have the right to: (i) request confirmation of whether we
                    are processing your personal information; (ii) obtain access to or a copy of your personal information;
                    (iii) receive an electronic copy of personal information that you have provided to us, or ask us to send
                    that information to another company (the “right of data portability”); (iv) object to or restrict our uses
                    of your personal information; (v) seek correction or amendment of inaccurate, untrue, incomplete, or
                    improperly processed personal information; and (vi) request erasure of personal information held about
                    you by us, subject to certain exceptions prescribed by law.

                    We will process such requests in accordance with applicable laws. To protect your privacy, we will take
                    steps to verify your identity before fulfilling your request. If we are unable to verify your identity, we will
                    not be able to fulfill your request.

                    California Residents

                    For purposes of the California Consumer Privacy Act, Jumio does not “sell” personal information.

                    California residents have the right not to receive discriminatory treatment by Jumio for the exercise of
                    their rights conferred by the California Consumer Privacy Act.

                    Data Subjects Located in the European Economic Area – Supervisory Authority

                    If you are located in the European Economic Area, you have the right to file a complaint with the
                    supervisory authority – Austrian Data Protection Authority (Österreichische Datenschutzbehörde). To
                    exercise your rights please contact us at the address provided below.


                    Additional information for users of the Services
                    from outside the United States
                    The personal information that Jumio collects through or in connection with the Services is transferred
                    to and processed in the United States for the purposes described above. Jumio also may subcontract
                    the processing of your data to, or otherwise share your data with, its affiliates or third parties in the
                    United States or countries other than your country of residence. The data protection laws in these
                    countries may be different from, and less stringent than, those in your country of residence.




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                    However, we only transfer your personal information to countries where the EU Commission has
                    decided that they have an adequate level of data protection or we take measures to ensure that all
                    recipients provide an adequate level of data protection. We do this for example by entering into
                    appropriate data transfer agreements based on Standard Contractual Clauses (2010/87/EC and/or
                    2004/915/EC).


                    Children’s Privacy
                    The Services are not directed to children under the age of 13, and Jumio will never knowingly collect
                    personal or other information from anyone it knows is under the age of 13. We recommend that persons
                    over 13 but under 18 years of age ask their parents for permission before using the Services or sending
                    any information about themselves to anyone over the Internet.


                    Changes to this Policy
                    Technology and the Internet are rapidly changing. Jumio therefore is likely to make changes to the
                    Services in the future and as a consequence will need to revise this Policy to reflect those changes.
                    When we revise the Policy, Jumio will post the new Policy on the Jumio website’s home page
                    (www.jumio.com), so you should review that page periodically. If we make a material change to the
                    Policy, you will be provided with appropriate notice. If we maintain your email address, we also may
                    email you a copy of the revised Policy at your most recently provided email address. It is therefore
                    important that you update your email address if it changes.


                    Questions or comments
                    If you have any questions or comments regarding our Policy, please mail or email us at:

                    Jumio Corporation
                    395 Page Mill Road, Suite 150
                    Palo Alto, CA 94306

                    Email: privacy@jumio.com

                    The Data Protection Officer can be reached by email at: privacy@jumio.com

                    We may request that you confirm your identity in order to continue with your request.



                    Effective date: December 23, 2019




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         SOLUTIONS                                             USE CASES                                INDUSTRIES                            FEATURES
         KYX Platform                                          User Onboarding                          Financial Services                    Features
         ID Verification                                       KBA Replacement                          Retail                                Compliance
         Identity Verification                                 Fraud Detection                          Travel                                KBA Alternatives
         Jumio Go                                              KYC & AML Compliance                     Sharing Economy                       Compare
         Document Verification                                 Biometric Authentication                 Gaming
         Authentication                                        Going Passwordless                       Telcos
         Address Services                                      Age Verification                         Mobility Services
         Video Verification                                    New Account Onboarding                   Healthcare
         AML Solutions                                         Case Management and                      Education
         Transaction Monitoring                                Investigation
         Screening
         Fastfill


         TECHNOLOGY                                            ABOUT                                    RESOURCES                             CONTACT
         Informed AI                                           Company                                  Library                               Support
         Optical Character Recognition                         Leadership                               Blog                                  Careers
         (OCR)                                                 Security                                 Technical Blog                        Sales
         Face-Based Biometrics                                 News                                     Webinars
         Certified Liveness Detection                          Global Coverage                          TCO Calculator
                                                               Media Resources
                                                               Brand Guide
                                                               Partner Program
                                                               Partner Login
                                                               Events
                                                               Awards
                                                               COVID Relief
                                                               Fintech Equality Coalition


         LEGAL                                                 LANGUAGES
         Privacy Policies                                      English
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         reserved. US Patent App.                              Portuguese (Português)
                                                               French (Français)
                                                               German (Deutsch)




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